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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :    CRIMINAL NO. 1:21-cr-657-BAH
                       v.                        :
                                                 :
 CODY MATTICE, and                               :
 JAMES PHILLIP MAULT,                            :
                                                 :
                            Defendants.          :


               NOTICE OF DEFENDANT’S POSITION ON
     GOVERNMENT’S MOTION TO STRIKE PORTIONS OF THE INDICTMENT

       The United States of America, by and through its undersigned counsel, hereby files this

Notice of defendant Cody Mattice’s position on the government’s Motion to Strike Portions of the

Indictment. (ECF No. 36.) At the time of the government’s Motion, the government had not spoken

with counsel for defendant Mattice and thus was not able to obtain his position. Following the

government’s motion, the Court ordered the defendant to respond by March 8, 2022, then extended

his response deadline to March 14, 2022. On March 10, 2022, counsel for defendant Mattice

advised the government that that he did not oppose the government’s Motion. Defense counsel

further requested that the government file this notice on his behalf.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052


                                      By:     /s/ Michael J. Romano
                                              MICHAEL J. ROMANO
                                              IL Bar No. 6293658
                                              Trial Attorney, Detailee
                                              555 4th Street, N.W.
                                              Washington, D.C. 20530
                                              Telephone No. (202) 307-6691
                                              michael.romano@usdoj.gov
